 

l CaS€ 8217-bk-10247-RCT DOC 12 Filed 12/26/17 Page 1 Of 56

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l case numbe|’fffmm}; 8'17'bk_10247'KRM Chaptery°u are ming umen ` ' r:_r-:'--\:'.-i'i-r;- ' ` Tl:l, i` ll":"%,.!\.;"s\ia;\
\ cwer ' ' _,‘:._ I}i‘Ji`.».v'.l
1 0 Chapter11
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j ill shaped-13 7 m Check `rf this is an
L_M_ , _ ,,,,j, mnw._»___ . _i.,*,,,…_ ; Wd€dmfng

Ofiicia| Form 101

Voluntary Petition for Individuais Fiiing for Bankruptcy wm

Tha bankruptcy forma usa you and Debror 1 to ra{ertoa debtor filing alone. A married couple may tile a bankruptcy cane muhammad a
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Be aa complete and accurate aa poecihie. if two married people ara filing lowther. both ana equally mponaihle for aupplylng correct
information ifmore space ia needed. attach a aaparete aheeltothie iorrn. Onthetop ofanyadditlonai paqaa, write your nameand cane number
(i‘i‘ known). Anawer every question.

mdm|fy Youm|f

 

 

 

 

 

 

 

 

 

 

 

 

AboutDebtori: Abo\ltDahtorZ(SpouaaOnlyhaJointCne):
1. ¥our full name
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yourdriver's license or Mlchael
passpolt). Middie name Middio name
Doug|as
Bring your picture
identification to your meeting '-“l name usc name
with the trusiee.
Su|'h lS\'~- J¢-- "- |"i Suriix (Sr.. Jr., li. un
2. AIi other names you
have used in the last 8 mm nme mm mm
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include your married or Middle name Miuui¢ name
maiden names.
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(lTiN)

 

Oi'ficla| Forrn 101 Vo|urrtary Petition for individuals Filing for Bani\ruptcy page 1

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8217-bk-10247-KRM

 

 

Dehierl ErWin weigel D::NE.ES Caae number cnmi
AboutDebtoM: AboutDebtorli(SpouseQniyina.lolm€eea):

a Any business names
end Employer
identification Numbers
(EIN) you have used in
the last 8 years

include trade names and
doing business as names

m l have not used any business names or EiNe.

El l have not used any business names or E|Ns.

 

 

Bueineen name Business name
Busineea name Businees name
EiN "' _ _______ am ' _______
m " ` _______ oil _ ` _______

 

s Where you live

12721 Fiatwood Creek Dr

|i' Debtor 2 lives at a different addrees:

 

 

 

 

Number Slreet Numher Stroet
Gibsonton FL 33534
Clty Stele zlP code City stale zlP cone
Hiiisborough
Counry county

if your mailing address is different from the one
above. llii it in here. Nete that the court will send
any notices to you at this mailing address

if Debtor 2's mailing address is different horn
yours, till it in here. Nol:s that the court will send
any notices to this mailing address

 

Number Streot

Number Slreet

 

 

 

 

 

P.o_ sex P.o. am
city stan zlP code Clty sum ziP cm
a. Why you are choosing Check one.' Check one:

this diamond file for
bankruptcy

m Over the last 180 days before filing this petition
l have lived in this distlld longer than in any
other district

n iheve another reaeon. Expiain‘
(SM 28 U.S.C. §1408.]

Ei over me last 190 days helm filing chin petition
l have lived in this district longerthan in any
omar dlsv-ioi.

a l have another reason. Explaini
lSee 28 U.S.C. § 1408\)

 

 

 

 

 

 

 

 

 

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Vo|untary Patition for individuals Fliing for lankruptcy page 2

 

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Erwin Michaei Dougias 8:17-bk-10247-KRi\/i

Doblor 1
Fletrhrna bulletin LaatNarlre c.sa number "m’

Tall the Court About Your Bankruptcy case

?. The chapter of the Cheolr one. (Fcra brief description cl eadi. see Notioo Requr'red by 11 U.S.C_ § 342(!:) lorlndlvlduals Filing
B.nkmpt¢y C°d¢ you for Benltruptq) (Fonn 2010)). Aleor go to the top cl page 1 and check the appropriate box.
are choosing to file
und.r m Chapier 7
Cl chapter 11
D Chapter 12

:l Chapier 13
a How you will pay the fee U iwitt pay the entire fee when ifile my petition Piease check with the clarit's ofnce in your
local court for more details about how you may pay. Typically. il you are paying the fee
yourseif. you may pay with cash. ceshiar's cheolt. or money order. if your attorney is

submitting your payment on your behalt, your attorney may pay with a credit card or check
with a pre-printed address.

El i need to pay the fee in inetaiimenta. if you choose this option sign end attach the
Appllcatich for individuals to Pay The Fr'ling Fee in installments (Ofiiciai Form 103A).

9 l request that my fee be waived (You may request this option only if you are filing for Chepter 7.
By |aw. a judge may. but is not required to. waive your fee. and may do so only if your income is
less than 150% of the official poverty line that applies to your family size end you ere unable to
pay the fee in installments). lt you choose this option you must till out the Applr`calr`on to Have the
Chapiar 7 Filr`ng Fee Waived (thcia| Fcrrn 1038) and file it with your petition

 

 

 

 

 

 

 

e. Have you filed for w N°
bankruptcy within the
last 3 an? a ‘(es. D|strict when Caae number
y° MMr nor mv
district whon case r
MMr co l vwv
Dlslrlcl When Case number
MM.' cc l vwv
1o. Are any bankruptcy N°
cases pending or being
died by a spouse who is m Y°S- D°bi°' R°""°"°*“P m ’°“
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you, or by a business tim on rwvv
partner. or by an
affiliate?
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MM l DD l' WY¥
11. Do you rent your Nor Go to line 12.
mid°"°°? CJ res Has your motors obtained on motion iudomnt against you and do you went w sur in your

reeldence?

Ki No. Go to lino 12_

l:l Yes. Fi|| out initial Stalemenl About an Evr'clr'on Judgment Agar'nst Vou iForrn 101A} and file it with
this bankruptcy petition

Oi’|iciei Forrn 101 Voiuntary Fetition for individuals Fiilng for Bankruptcy page 3

 

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Erwin Nlichae| Doug|as 8:17-bk-10247-KRM

Debtcr 1
nn ion- m.... i..i im C°“ """“°°' ""'"°""’

iteport About t\ny Iualnesees You own as a Sole Proprletor

 

1a Are you a sole proprietor U Nc. Go to Pan 4.
cf any tull- or part-time

 

business? n Yea. Name and location of business
A sole proprietorship is a

business you operate as an

indemL and is not a Nlml Qf huslneds. if any

separate legal entity such as

accrporation. rtnershi .cr
LLC` pa p Ni.tmber Stmet

 

ityou have more than ore
sole proprietorship use a
separate sheet end attach it
to this petition

 

 

Cllil‘ State ZlP Code

Checlt the appropriate box ro describe your business

iii uoaith care euoinoss ins ootinoo in 11 u.s_c. §1oi(2mii
Ei sinoio Aooot noel restate too ootinoo in 11 u.s.c. § toitsie)i
El stockbrokor too donnell in 11 u_s.c. § 101153.11»

Ei commodity territories cannon in 11 u.s.c. §10116»

n Ncne cf the above

13. Are you filing under lfyou am filing under Cl'iapter 11, the court must know whetheryou are a smallbuslrressdebtor so merit
ch.pur 11 ¢r mg can set appropriate deadlines lt you indicate that you are a small business debtor. you must attach your
B.nkrupwy c°d. md most recent balance eheet. statement cl operationa. cash-now etaterrient. and federal income tax return or ii
." you a sm.” umwa any of these documents do not exist ioiiowthe procedure in 11 U.S.C. § 1116(1)(8).

dchtor? m
No. l fill .
For a definition ot small am not no under chapter 11
hom drum m i'_'i No. i am filing under chapter 11. out i am Ncr o omni positions debtor ooooiuing to tho ootinition in
11 U.S.C. § 101(510). the B¢nkrupt¢y cost
o Yes. lam filing under Chapter 11 end iam a small business debtor according to the definition in the
Bet'ikruptcy Code.

Report if ‘fcu Ovvn or i-lave Any Ha:ardoue llropert~y or Any Property Thet Needa immediate Attentlon

14. Dc you own or have any No
property that poses or is

 

.",g,d w pose a pmm Ei Yes. whatis the hazaro?
of imminent and
identifiable hazard to

 

public health or aafety?
Or do you own any

P'°F°'W mt "°°d‘ ir immediate attention is noonan why is it noncoo'r

 

immediate attention?

 

For example. do you own
perishable goods, or livestock
that mustbe fed, orebullding
that needs urgent repairs?

Where is the property?

 

Nul‘nb\¢ Slf\\t

 

 

C|ty St¢l\ ZIP Code

Ollicia| Form 101 Voiuntary Petition for individuals Fl!lng for Benltruptcy page il

 

 

 

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Erwin lVllchae| Doug|as

D\bioi"l

 

Ftt\i Name m time

munich ¥eur lt'|orte to l\eoei\re l lrie|ing About credit Couneeling

LlIiN\li\

Case number ir~n~wi_

8:17-bk-10247-KRM

 

ts. Teii the court whether
you have received a
briefing about credit
counseling

The law requires that you
re¢»ive a briefing about credit
counseling beiore you tile for
bankruptcyl You must
truthfully check one of the
ioiiowing d\oioes. it you
cannot do so. you are not
eligible to iiie.

lt you tile anywey, the court
can dismiss your cese. you
will lose whatever filing lee
you paid. and your creditors
can begin collection activities
againl

Oiiici€| Form 101

Ab°i|iDehtori:

¥ou must check ona.'

m i received a brietirtg from art approved credit
connecting agency within the 180 days before i
filed this bankruptcy petition, and i received a
certificate of compietion.

Attach a copy of ihe certitlcate and the payment
plan. if any. that you developed with the agency.

Ei i received a brieanp nom on approved credit
counseling agency within the 180 days before l
ti|ed this bankruptcy petition, butt do not have a
certiiicm of completion

W|thin 14 days after you ills this bankn.iptcy petition.
you MUST lite a copy of the certliicatie and payment
pian, ii sny.

Cl i certify inst i am for mart counseling
services from an approved agency. but was
unable to obtain those services during the 1
daye after l made my request. end exigent
circumstances merit a atl-day temporary waiver
of the requan

To ask ior a 230-day temporary waiver ci the
requirement athd'i a separate sheet explaining
whatetiona you made to obtain the briefing, why
you nereumblatoobtaln ltbaforsyoui|ledior
bankruptcy. and what exigent circumstances
required you to tile this cesa.

Your case may be dismissed if the court is
dissatisfied iivlbi your reasons ior not receiving a
briefing before you filed ior bankruptcy

if the court is sattsiied with your reasone, you must
still receive a brieiing within 30 days alter you flie.
Ycu must tile a certiticats from the approved
agency. along with a copy cl the payment plan you
developed. ifany. ii you do not do so. yourccee
may be dismissed

Any extension ot the 313-day deadline ia granted
only ior cause and is limited to a maximum ot 15
days.

Ci iamnotrequiredtoreceiveabriafingabout
credit counseling because oi:

m lncapacity. l have a mental ilsiess ora mental
deficiency that makes me
incapable of realizing or making
rational decisions about iinancas.

Ei oiootiiiity. ivy physical disabiliiy oooooo mo
to be unable to participate in a
brieiing in peraon. by phcriei or
through the Internet. even alter l
reasonably tried to do sc.

Ci Actlve duty. l am currently on solve military
duty in a military combat zierie.

ltyoubeileveywarenotrequlmdtcreoaivea
briefing about credit counseling you tmat his e
motion ior waiver et credit counseling with the court

AboutDebtorZ(SpouanniytnaJointCeee):

You exist check one:

cl ltecelvedabristingiromanapprovedcredit
counseling agency within the 180 days before t
filed this bankruptcy petition. and l received a
certiiicate of completion

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plan. ifany. that you developed with the agency

n i received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruPi!=y Pdtii|on, butt do not have a
csrtiiicate of completion

Witt'iin 14 days ai'beryou tile this bankruptcy petition
you MUST tile a oopyof the certificate and payment
pien, ii any.

Ci i oortiiytnatio¢iiodroroncitoounuiinp
services from an approved agency, but was
unable to obtain those services during the 7
dayaatterl mademyrequeat,and exigent
circumstances merit a Mdey temporary waiver
ot the requirement

Toaati fora 30-daytemporaryvralverofthe
reqiirarnent. attach a aperate sheet explaining
whateii'orta you made to obhin the brieflng, viit'iy
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Any extension of the SOday deadline is granted
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cl l ernnotnquiredtorecelveabrieiingabout
credit counseling because of:

Cl incapacity i novo a mental illness or o menioi
deiir.s`eni:y that makes me
incapable of realizing or making
rational decisions about finances

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Voiunilry Petition for individuals Flting ior Bankruptcy page 5

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Erwin Michael Douglas 3:17-bk-10247-l<ilrvl

Dabtor 1 Caaa number llilmo.nl

 

F'lretNalrla MdlIaNa¢rle LeatNerrlla

mAnewer Theee directions for Reportirlg Purposes

iba. Are your debts primarily consumer dabtie? Coriaumer debra are delined in 11 u.S.C. § 101(3)
“' what kind °f debts d° as "incurred by an individual primarily fora peraona|. iami|y, or household purpose.'

you have?
EJ No. Go lo line lsb.
m Yee. Go to ||ne 17.

iso. Are your debts primarily buclneae debte? Buoinooo dobie are dobie mal you inclined lo obtain
money for a business or investment or mrol.lgh the operation of the business or investment

D l~lo. so iolino leo
Ei Yoo. Go lo line ir.

 

tdc Stete the type of debts you owe that are not consumer debts or buairees debta.

 

 

11. Are you filing under

Chap\er T'i 53 N°- l am nol lilan under Chaplor 1 Go to line la_

Do you estimate that mr m Vaa. | am tiling under Chapter 7. Do you estimate that after any exempt property le excluded and

my .x.mp\ pr°p.ny la administrative expenses are paid that iunde will be available to distribute to unsecured creditore?
excluded and m N°

administrative expenses

are paid that funds witt he m yes

available for distribution
to unsecured creditore?

 

 

 

 

io. Hew many creditors do m 1-49 Ei 1.000-5.000 El zs.ooi~so.ooo
you ewm=h that you Ci sues Cl 5.001-10.000 Ei so.ool-ioo.ooo
W¢? Ci lucille El 10,001-25.000 Ct lvloro man ioo.oco
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m --i»-

l have examined this petitich. and l dedel'e under penalty ot perjury that the information provided le true and
F°l' you correct

iii have chosen to tile under Chapter 7. l am aware theti may proceed ifaligible. under Chepler 7. 11.12.0r13
of title 11. Urilted Stateli Cede. l understand the relief available under each chapter. and t choose to proceed
under Chepter 7.

lino attorney represents me end l did not pay or agree to pay someone who is not an attorney to help me nil out
this document. l have obtained end read the notice required by 11 U\S.C. § 342(b).

l request relief irl accordance with the chapter ct title 11. Un'lted Stetes Code. spedtied in this petitionl

i understand mailing a false statement conceding property. or obtaining money or property by fraud in connection
with e bankruptcy case can result in up to $250.000. or imprisonment for up to 20 years. or both.
18U.S. .§§152.1341.1519.and_ 71.

X' m bowl X

signature or oeo l signature or oooloi 2

 

   

E.\leculedcn la Executedon ____
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Erwin Mi€ha€i DOUS\HS 3:17-bk-10247-l<lllvl

Debtor t Ceee number lamoonl_
l=a\i Name mine i.ui Name

 

 

 

 

 

-» -e¢-a»~l....“m~owm¢»w._-- r»ow`_.a_...o-__~¢-#

l. the attorney for the debtor(s) named in this petition. declare that l have intenth the debtor(a) about eligibility
to proceed under Chapter 7. 11. 12, or 13 oiiitle11. United Statee Code. and have explained the relief
available under eadi chapter for which the person is eligible. l also certify that i have delivered to the debtor(a)
the notice required by 11 U.S.C. § 342(b) end. in a case in which § 707(b)(4)(0) applies. certify that i have no
it you era not represented knowledge oiler on inquiry mar mo lniomlalion in lyle oonoooios illoo wilh mo pelinon is lnoonool.

by an attorney. you do not

For your attorney, it you are
represented by one

 

 

 

 

 

 

 

 

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n _ g § l=lnn name
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City Stale ZlP Code
Contaot phone Emall address
Bar number State

Oihclal Form 101 \foiurltary Petltion for individuals Fiilng for lenkruptey page 7

 

 

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D,W, Erwin Michael

Douglas 3:17-bk-10247-|(RN|

Caee number wound
tm run

 

Fael Name \&ddelhn\l

For you if you are filing this
bankruptcy without en
attorney

if you are represented by
en ettorney, you do not
need to tile this page.

xuzm_ m bj“"i

41 o_

The lew allows you, as an individuei. to represent yourself in bankruptcy oourt. but you
should understand that many people find lt extremely difficult to represent
themselves successfully Because bankruptcy has long-term financial end legal
consequences. you are strongly urged to hire a qualified attorney.

To be successful you must correctly file and handle your banitn.iptcy case. The rules are very
technicat, and a mistake or inaction rnay affect your rights For eumple. your case may be
dismissed because you did not lite a required document pay a fee on time. attend e meeting or
hearing, cr cooperate with the court. case trustee U.S. trustea. bankruptcy administrator. or audit
lirm if your case is selected for audit lfdtat happens. you could tose your right to file another
oase. or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to lite with the
oourt. Even ifyou plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules lf you do not list a debt, the debt may not be discharged. if you do not list
property or properly claire it as exempt you may not beablo to keep the property The judge can
also deny you a discharge of ali your debts if you do something dishonest in your bankruptcy
case. such as destroying or hiding property, falsifying records, or |ying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthfui, and complete
Bankruptcy fraud la a serious crime; you could be fined end lmprlsoried.

if you decide to fite witi'iout an attorney. the court expects you to follow the rules as ityou had
hired an anomay. The court will not treat you differently because you are tilan for yoursalf. i"o be
successful you must be familiar with the United Statas Eankruptoy Code, the Faderal Rulea cf
Bankruptcy Procedure. and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that epply.

Are you aware thattiiing for bankruptcy is a serious action with long-term financial and legal
consequences?

n No

31 ¥ea

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incorrrplstiel you could be lined or lmprlsoned?

Ei No

m Yes

Dld you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forrna?

ElNo

n Yas_ Name of person .
Attaot'l Banid'uptcy petition H'eparer's Notioe. Dedreb`m. and Sipneture (Ot‘licie| Form 119)\

By signing hera. l acknowledge that | understand the risks involved in filing without an attorney. l
have reed and understood this notice and l am aware that tilting a bankruptcy case without en
attomay may cause me to lose y rights or property ii l dc not properly handle the case.

X

 

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mm Miur co rvaY

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Contact phone Contact phone
Celi phone Geli phone
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Olliclel Forrn 101 voluntary Petitlon lar individuals Fitine for Benkruptcy pape a

 

 

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tlflmuvm`»

Cue number

 

Offlcia| Form 1068um

 

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L'.l check innis is an
amended Hling

Summary of ¥our Assets and Llabllities and Certain Statlstlca| Informatlon 1215

Bn us complete end accurate n muthla. lt two married ample m filing common both m equally womble for supplying comet
|n‘|ormdon. FI|! out lll of your schedules Hrst; thin complain the Inform\tion on this form. ¥fyou an filing lmnd¢d schodulu lhr you flb
your orig|nal forma. you must ml out a new Summ¢ry md check thc box at \h¢ top al this pag¢.

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5. Sd)edu|e J.' Your Exponm (Omdl| Form ‘|OSJ)

Copy your monthly expenses from line 22¢ of Schedula J

Offldal Form 1068um Summlry of ¥our Asnts and Liabllhiu and C¢m|n Stltlltieal lnformation

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mmi Erwin lVlichael Dougias 3;17_bk_10247-KRr\/|

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renum- mieii rim nom

Pm 1 d: brewer Thm Queetloria for Admlnletretive end Stetletioel Reecm'.le

e. Are you htlriq for bankruptcy under Cheptere 'l', tt, or 13?

a No. You have nottian to report on this part olihe form. Cheok this box and submit this form to the ooi.irt with your other soheduies\
m Yee

'i. Whlt kind l.'il debt do you have?
n Your debts era primarlty consumer debte. Consumer debts ere those "incurred by an individual primarily for a pereonal.
family. or household purpooe.’ 11 U.S.C. § 101(8). Fiil out lines B~Bg for statistin purposes. 28 U.S.C. § 159.

n Your debts are not primarily consumer debte. You have nothing to report on this part oithe lonn. Ched< this box and submit
this Form to the court with your other scheduiee.

 

a. From the Stetement of ¥our Curreni Men¢hiy inoome: Copy your total mrrent monthly income lrorn Of|iciai 4 759 00
Fon'n122A¢1 Line 11: OR. Form 1223 Lino 11; OR. Forrri 1226-1 Llne 14. 5 i -

 

 

 

 

9. Copy the following special categories of claims from Part 4. line 6 of Schedule E/F:

 

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9e. Oblloationa erisan out ofe separation agreement oroivoroe that you did not report es 0
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Erwin Nl'ichae| Douglas
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Ei check ii this is an
amended filing

 

 

Oil'iciai Form ‘lDSA/B
Schedule AIB: Property luis

iii each category, separately list end describe ltema. Llet an asset only onoe. if en asset fits in more then one comm llet the asset in the
mm where you think it lite beat. 5a as complete and accurate se poeslbie. li'two men'led people ere filing together. both are equally
responsible ior supplying correct information if more space is needed, attach a separate sheet to this lorm. Or\ the top oil any additional pagee.
write your name end case number iii knewn). Ans\\l\r awry Q“¢lll°n-

 

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il tie you cum or have any legal or equitable interest in any realdence. building iand. or similar property?

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property identification number~.

 

Oiiioiai Form ilJBNB Sc'hedule NB'. Property page 1

 

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Erwin Michae| Doug|as

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la investment property
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°“"‘" the entireties. or a life estate). if knovrn.
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m Debtor1 only
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(see inslrucilone)

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Other information you wish to add about this ltern. such as local
property identification number:

 

 

21 Add the dollar value of the portion you own for all of your entries from Psrt 1, including any entries for pages
you have attached for Fert ‘l. Write that number here. ...................................................................................... -)

 

 

 

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you own that someone else driven if you lease e vehiole. elec report it on Sohedule G: Executcry Conirecis end Unexplred i.eeeea

3. Care, vans. trucks. tractore, sport utility vehicles, motorcycles

 

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ll you own or have more than one. describe here:

 

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Schedule NB: Prooerty

 

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Erwin Michae| Douglas 8:17'bk'10247‘KRM

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and kayeks; carpentry loole: musical instruments
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13.Non-farm animala
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sa.Any other pereonal and houeehold lieme you dld not already ||et. including any health aide you dld not list
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15. Add the dollar value of all of your entriee from Par! 3. including any errlrlee for panel you have attached s 1,849.00
roe Far\ 3. wm mac number nm .................................................................................................................................................. -}

Offlclal Form106NB Schedule NB: Property pagel

 

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Erwin Michae| Doug|as
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n Debtor2 only

n Debtor 1 and Debtor 2 only

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Omda| Form 106NB

Schodl.ria NB: Proparty

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Erwin Nlichaei Douglas 8:17-bk-10247-|<RM
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a Yae ................................................................................................................................................................ Cw,_. _____________________ s 100.00
11. Depoaita of money

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and other similar inatttu&ons. ii you have multiple accounts with the earne lnatltution. llet eadl.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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17.2.Ci1aolting account 5
11.3. Savlnga account s
11.4. Savings account s
17.5. Certitioates ot deposit 3
1?.6. Other financial account 5
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lr.a. Other financial acoount: 5

1a Bonde. mutual l‘unde, or publicly traded atoclre

E)rairpiea' Bond iunde. investment accounts with brokerage llrme. money market accounts

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art LLC, partnarahip. and joint venture

m No Name of entity: et of ownership:

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information about 0%
them ......................... %
o% ,‘,

 

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Erwin |Vlichae| Douglas 8:17-bk-10247-KRM

Debtort cm mm
FilelNama \arHaNarne uat|aame [¢m]

20. Gevernment and corporate honda and other negotiable and non-negotiable inatrl.irnente

Negotiahle instruments include personal checka. cashiers' media promissory notes. and money orders.
Non-negoiieble instruments are those you cannot transfer to someone by aiming or delivering them.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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n Yas. Give species issuer names
information about
them ....................... 3
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21. Retirarnent or pension accounts
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Olher? $
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Oiflcial Form 106NB Schadule NB: Pfopal'\y

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Erwin Niichae| Dougias 3;17_bk_10247-KRM

Dabtor t Caae number ca mr
Fl¢ lime lltlaele time Laet Name

24.intaraata in an education lRA. in an account in a qualified ABLE prooram. or under a qualitied state tuition program.
28 i.i.S.C. §§ SSDib)(t). 529A(b). and 5290))(1).

m No
a Y” """"""""""""""""""" |nstitr.rticn name and description Separataiy ila tro records of any interests.11 U.S.C. § 521(6)'.

 

 

 

25.Truate, equitable or future lntareata in property (other than anything listed in line 1). and rtghta or powers
exarciaabla for your benefit

Ciirle

n Yes. Give specific ‘i .
information about themr... - $

28. Patante, copyrighta. trademarka. trade eeorata. and other lntailar.'tr.ra| property
Examplee: internat domain names. webeitee. proceeds from royalties and licensing agreements
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information about them ..... 5

27. Lloenaea. franchieee, and other general intangibles
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29. Farntiy wppart
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30. Other amount eorneone owes you _ ‘ 1 v l _
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Sociai Security benefite; unpaid loans you made to someone else

a No
Cl Yes. Give specific inl'on'nlaticn......._..`...`l

O‘lficiai Form 106NB Schadulo NB: Property page 7

 

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Erwin Niichae| Doug|as 8:17-bk~10247-|<Rivi

Debtnrt _ Caae numberrra-m
Fhetl*hma alodlethrna i.aet|len\a

31. interests in insurance polictaa
Exemolea: Haalth. diasbi|ity, or life insurenco: health savings account (HSA): uedit. homeowner’s. or renter's insurance

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n ¥aa. Name the insurance company

of each policy and ust ns vault C°"'lP¢i'li' name: Benetiorary: Surrendaror reiund vell.re:

 

 

32. Any interaat |n property that ia due you from someone who has died

if you are the beneficiary of a living truai. expect proceeds from a lite insurance poil<.y, orara curreniiy audited to receive
property because someone has dled.

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Ci res cer speonc interaction ............. §

33. Ciaima against third partlee, whether or not you have filed a lawsuit or made a demand for payment
Exermles: Accldenta. employment dlsputes. insurance dairne. or rights to sue
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34.0ther contingent and unliquidated claims ofevery nature. including counterclaima of the debtor and righta
to eat ofl' cialma

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n ¥as. Deecribe aadi ciaim.

35.Any financial aeaeta you did not already list

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36. Add the dollar value of all ofyour entries from Part a, including any entries for pages you have attached 24’513_00
for Part lt Wrtta that number hara .................................................................................................................................................... ') 8

 

 

 

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Cl Yes. co to line 3a

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Cim.oeeelbe ....... s

Ofiicial Form 106.\\!3 Scheduie NB: Proparty page 8

 

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Erwin Michae| Dougias g;ly_bk_lgzq,‘;_\<gm

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n Yes.Desci'ibe....... W _ §
41.lnventory

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Ofilciel Form 106NB Schedule AiB: Proparty page 9

 

 

 

 

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Ofiicia| Form 1060
Scheduie C: The Property You Ciaim as Exempt wis

 

Be as complete end accurate as poeeible. |f two married people are ii|lng together. both are equally responsible for supplying correct information

Uslng the property you listed on Scheduie A/E: property (Oii'ldal Form 106NB) as your source. list the property that you claim as exeran if more
space ls needed. fill out end attach to this page se many copies ci Pari 2: Addiiionei?ege as necessary On the top of any additional pages. write
your name and case number (ii knovvn).

For each item oi property you claim aa exempt, you must specify the amount oithe exemption you claim. Dne way ot doing so le to state a
specific dollar amount ae exempt Aliernativeiy, you may claim the full fair market value of the PNPW¢¥ being exempted up to the amount
et any applicable statutory llinit. Some exemptions-such as those for health eide, rights to receive certain benefits, and tax-exempt
retirement iunda--may be unlimited in dollar amount However, if you claim an exemption of tol'l% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property le determined to exceed that amount, your exemption
would be limited to the applicable etatutory amount

identify the Property You claim ee laempt
1. Wh|ch set el exemptions are you claiming? Checli one only. even if yourepouea is filing with you.

m You are claiming state and federal nonbankruptcy exempiione. 11 U.S.C. § 522(b)(3)
n ‘i'ou are claiming federal enemptione. 11 U.S.C. § 522(b)(2)

2. For any property you list on ScheduieA/B that you claim ee exempt, i'lii in the information beiow.

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3. Are you claiming a homestead exemption of more than $180,3?5?
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DYes

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Bcheduia C: The Property ¥ou Clalm aa Exempt

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Ofi`lciai Form 1060
Scheduie D: Creditors Who Have Claims Secured by Property 1215

 

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Ofiicial Form 1060 Additionai Paga of Schedule D: Craditors Who Hllve Cleims Seculed by Froperty page 3_ oi 3__

 

 

 

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Schedule EIF: Creditors Who Have Unsecured Ciaims 12115

 

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NB: Property lofhclal Form 10¢~8) and on Schedule 6: Executory Contracte and Uaezplred l.aaaee (Omciel Form 1066\. Do not include any
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t. Do any creditors have nonpriority unsecured claims eoalnet you?

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Case 8:17-bk-10247-RCT DOC 12 Filed 12/26/17 Page 31 of 56

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Case 8:17-bk-10247-RCT DOC 12 Filed 12/26/17 Page 32 of 56

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DOC 12 Filed 12/26/17 Page 33 of 56

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Ofi'tcia| Form 1066

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Case 8:17-bk-10247-RCT DOC 12 Filed 12/26/17 Page 34 of 56

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Omclll FOlTl'l 106H

Bcheduie H: Your Codebtora

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Caeenumper 3'-17'b'l<-10247-KRM

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Ch€Ck if this iSZ
0 An amended filing

 

Oft”ic`lal Form 1061
Schedule l: Your lrtcome

n A supplement showing postpetition chapter 13
income as of the following date:

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12115

 

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ltyot.t ere separated end your epouee la notlillngvrlth you. do not lnclude information about yourapouee. lfmore epeoe la needed. attache
eeparete sheet to this form. On the top of any additional pagae. write your name end oaee number |if known). Anavrar avery queetioti.

monch lmployment

 

1. Flli In your employment
information

 

 

 

 

 

 

 

. Debwr 1 Delnor! or non-filing spouse
if you have more than one iob.
attache rate a with
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or homemaker, lfllapplles. _ _ _ _
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Emp|oyer'e eddreee 851 LUdeEn Rd
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How long employed H'Hfl? 10 Yea rS

mm Detalle About Montttly lnoorne

 

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apouee unless you are eepareted.

lt you or your non-filing spouse have more then one employer. combine the information for atl employers for that pereon on the lines

below lt you need more speoe. attach a separate sheet to this lorm.

 

 

 

For Deotlor 1 For Debtor 2 or
non-olim apouea
2. Llet monthly grose weqee. aaiary. end commissions (l:ialoto all payton
oeduotiorto). ltnotpald monthiy. oalo.siate what the annuity wage would pe. 2. s 4,477_00 s
.00
3. Eet|mate end llet monthly overtime pey. 3_ + 5 182 + 5
4. Calou|ate groaa tnt:ome. Add line 2 + lino 3. 4. s 4.559-09 s

Ol‘l'loiel Form 106| Bchedu|e l: Your income

 

 

 

 

 

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D|L'MH

‘I.

11.

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Erwin Michael Douglas 8:17-bk-10247-KRN|
Fi\t¢teine title Name Leet Naeie um number luna
For Debtor 1 For Debttor 2 or
ceey line 4 here ............................................................................................... -) 4. s 4.559-09 s
o. Liat all payroll deductions:
5e. rex, uedleere, end center security deduedene se. s 571-09 s
5b. Mandatory contribuqu for retirement plans 5b. $ 129‘00 5
5c Votunt.ery contributions for retirement plane 5a $ U 5
5d. Reguired repayments ci retirement h.lnd loans 5d. $ 0 5
Se. insurance Se. $ 0 $
Si'. Domaatic support obligations 5i. 5 0 $
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sit outerdeduetlene. speuty: sn. +s 0 + s
Mr.t the payroii deductions. Md lines 52 + 5b + 5¢ + 5a + se +sr + §§ a sh` 5, 5 700.00 5
. Calcuiate total monthly take-horne pay. Subtrect line 6 irorn line 4. 7. $ 3'959'00 $
. l.iet ali other income regulerty received:
Ba. Net tacoma from rental property and from operating a busineaa,
professionl or farm
Attaoh a statement for each property and business showing gross
reoelpts. ordinary and necessary business expenses and the total s O
monthly net income. 88. s
Bb. interest end dividends Bb. $ 0 $
Bc. Femily support payments that you, a non-iiiing epor.leo, or a dependent
regularly receive
include aiimony. spousal support child support maintenance divorce s 0 s 300-99
settlement and property settlement Bc:.
Bd. Unemploymei'lt compensation Br.t. $ 0 3
Be. Soolal Sacurity Be. $ 0 3
Si. Othar government assistance that you regularly receive
include cash assistance end me value (if known) of any non-each assistance
that you reoelve. such as loud stamps {benoiita underthe Supplernentel
Nutriiion Aaeietenoa Program) or housing subsidies
spediy: ar. 3 9 $
Bg. Penaion or retirement income 39 s 0 s
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Addeitetherineerne.nedllneeae+ab+ae+ad+ae+si+ag+an. ii. s g l S_&B.Q.D.Q_
ro.Caicuiate monthly lncorns. Add line 7 + iine 9. SO0.00
Add the entrtee in line to ier oeetert end center 2 er nnn-liling epeuee. 10. $M "` s = la 4'759`00
Stete all other regular contributions to the expenses that you list in Schedi.ila J.
induce contributions from an unmarried partner. members of your househoid. your demmenw. your roonenates. and other
friends or relatives.
Do not include any amounts already included ln lines 2-10 oramounta that are not available to pay expenses listed in Sdioduie J.
11. + s 0

Snedfw

 

12. Add the amount in the last ooit.lmn ei‘ line 10 to the amount in line 11. The result is the combined monthly iriool'ne.

Writia that amount on the Summery ol' Your Asoets end thili‘ties and Cortaln Stotistloel lnl‘onnetipn, if it applies 12.

13. Do you expect art increase or decrease within the year after you file this tonn?

DNe.

g 4,759.00

Combined
monthly income

 

m Yea. Explain:

 

 

Otiiciei Form 106| Schedute ii 'four income

need

 

 

 

 

 

 

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mm Erwin lVlichae! Doug|as
` rmrllme williams mle Ch€Ck if this lsi

lspe\are.zll noel rnur-n- unnem 0 Ai't amended filing

cl A supplement showing postpetition chapter 13

 

united sum Ben§r;l:ll)t_;_:y§;uriliarziae?__mm_KRwdd|e mm °L--__ expenses as of the following dele:

["M, MM l our vva

Caee number

 

 

 

Ofi'lclal Form 106J
Scheduie J: your Expenses one

Be as complete end accurate se poesli:lie. if two married people are illlng together. both are equally responsible for supplying correct
information ltmore space ieneeded.attachanotl'lersheettothle ionn.Onthetopoianyeddliional peoes.writeyournsrneend case number
tit knenm). Anewer every question

Pnn 1; Deecrlbe your Houeeneid

t. is title a joint cese‘l'

El Nn. co m line 2.
g ‘r'es. Does Dobtor 2 live in a separate household?

Cl No
m Yes. Debtorznnlstiiie OiilclaiForm106..l2 Expsnsesfor$eparateHousehoidofDeblor?

 

 

 

 

 

 

2 no you have oependerlts? m N°
e relationspr Dependent'a nose dependent live
Do not list Debtor 1 and m Yes. Fl|l out misinformation for W‘ \'" mW-“’z '9° *'u' ¥°“"
Debtorz. eachdependent..“ .. a
Do mlmw me dependents Kennedy (Daughter) 3 ‘(rs N°
namee. \"es
Karter (Son) 3 ‘(rs C] N¢
il ‘fn
Ei rla
m Yea
C| No
n Yes
Cl l~lo
L_..l \'es
3. Do your expenses include m N°
expenses ot people other than

yourself and your dependents? n Y°s

P;llr 2: lst|mste Your Ongoing Monthly Expenses

Eotirnate your expenses as ofyour bankruptcy filing date unless you are using this form as a supplement irl a Chapter 13 case to report
expenses as of e date alter the bankruptcy is tlted. lt this is a supplemental Schedl.rle J, check the bolt at the top of the term and till in the
applicable date.

include expenses paid for with non-cash government assistance ll you know the value of

 

 

such a“lshnoa and have included lt on Schedule i: your become ¢Omctal Form 106|.) Y¢ll-""W
4. The rental or horne ownership expenses for your residence. include iirst mortgage payments and s 800_00
any rent for the ground or lot 4,
lt not included in line 4:
4a. Reei estate taxes 4a.
411 Property. l'lorrleownel"al or rentst insurance 4b.
4c l'lorne malntenance. repelr. and upkeep expenses 4c S 31111 i,']£l _ _
dot Horneowner‘e association or condominium dues rld. s 25.00

 

Olllclal Forrn 106J Schedula J: Your Expeneee page 1

10.
11.

12.

10.

 

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umw Erwin Michael Doug|as
Fi\iNImI M!hl\e LII|*Hne
5. Additlonai mortgage payments for your i'eal¢lenr:el such as home equity loans

. U‘llll‘llal:

Ba. Eiactridly. hoal. natural gas

aa. Weter. sawer. garbage collection

sc. Teiephcne. cell phone, |ntemei. satellite and cable services
Bd. Other. Specify;

 

. Food and housekeeping euppilee

. Ch|ldcue and ehildren’e education costa
. Clothlng, laundry, end dry cleaning

Pereonal care products end services
Medicel and dental expeneee

Treneportellon. include gas. rrreir'ltenar\oel bus or train fara.
Do nci induda car peymenia.

. Enterte|nrnent. clube, recreation newepepera, magazinee. end books
. Char'lwble contibutlone and religious donatione

. ll‘\l\lfll"l°l.

Do not include insurance deducted from your pay or induded in lines 4 or 20.

151. Llfe insurance
15a_ Health insurance
isc. Vahide insurance

Chi|dren Ensuranc
15¢1. Oti\ar insurance Specii'y. e

 

Taxea. Do not include taxes deducted from your pay or included in lines 4 cr 20.
s in |.R.S. Year 2013 Payment P|an

 

. lnelallment or lease paymenta:

ira. Cer payments for Vehicle 1
irb. Car payments for Vehicia 2
11¢:. Oiher. Specify:
1're. Otner. Spaoiiy:

 

 

your pay on line 5. Schedule i. Your income iOiIlciel Form 108|].

Other payments you make to aupport othere who do not live with you.
Spedfy.

 

201 Mortgagas on other property

20a Real estate taxes

20¢. Properiy. hcmaownefs. or ronler’a insurance
zod. Maintenance. repair, and upkeep expenses
zoe. Homoowner's association or condominium dues

Ofl|clal Form 106.1 S¢:hedu|e ..l: Your Expem¢e

8:17-bk*10247-KRM

Casa number r¢mi_

15a.
15h.
156.
15d.

15.

17a.
‘|Fb.
\'i'c.

171

. ¥our payments of aiimony. maintenance. and euppcn that you did not report ee deducted from

. other real property expenses nol included in lines 4 or 5 of thie form or on Schedule l: Your Income.

20b.
20¢:.
20d.

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umw Erwin Michae| Doug|as m"nmmmL 3:17'bk'10247'KRM
Fli\l Name W* Name \,sal Name
21. Oth\l'. Spodlfy: 21_ +$ 0
22. Calculate your monthly expenses :
22a. Acd lines 4 through 21\ 221 s 4,492.00
22b. Copy line 22 (monlh|y expenses for Debtor 2). i|' any, from Oflicia| Form 106J-2 22b. g 5
22c Add line 22a end 22b. The result is your monthly expenses 22¢:. ll 5 4,492.00
23. Ca|cullta ur monthl net income.
’° y s 4,759.00
231 Copy line 12 (your combined monthly income} horn Schedule r. zee.
23b. Copy your monthly expenses from line 22c above zev. _. s 4'492'00
23a Sublracl your monthly expenses from your monthly lncome. s 267 00
The result is your monthly net income 23c.

 

 

 

24. no you expect an increase or decrease in your expenses within the year mar you tile this |orm?

For example, do you expected Inieh paying for your car loan within the year or do you expectyour
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

KJNa.

n Yee. Explein here:

Ofl|dai Form 106~|

Schedule J: Vour Expel'\l\$

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Case 8:17-bi<-10247-RCT DOC 12 Filed 12/26/17 Page 42 of 56

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n 1 Erwin Niichaei Dougias
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union sum summary conn er ms M id d le ensure or
plummer 8:17-bk-10247-|<RN|

 

 

 

("~MJ Cl check if this is an
amended filing
Ofiiciai Form 106Dec
Deolaration Ahout an individual Debtor’s Scheduies ms

 

ii' two married people ere iiiing together, both are equally responsible for supplying correct iniormetion.

You must i‘iie this form whenever you file bankruptcy schedules or amended schedules leasing a false etatement. concealing property. or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250.000. or imprisonment for up to 20
yeera. or both. 18 U.S.C. §§ 152. 1341. 1511 and 3571.

q - nw mm

Did you pay or agree to pay someone who ls NOT an attorney to help you fill out bankruptcy forms?
Nl No

E] Yes. Nameorpermn .Ameanmmpewmmpem's~aw¢.oedmm
Sigtelure (Oll|clel For'm119).

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that they ere true end correct

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Signature Debler'l SlgnaiureoiDebtor2
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mmi DD l` MM! 001 ‘l\'\"(

 

Offidl| Fori'i'l 10608:: Declll\ti°n About an lr|dlviduli Debtor'l S¢hed\llll

 

 

 

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adam M__i_@ae| Dcug|as
MdMNei'lll

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Erwin
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lieber
ispouu. iiiiiingi resume candid mine name ` `

unned sims eanhrupwy conn ior me __Ml¢dlemsmo al Ei

Caee number R'i 7~hk-1()247-|(RM _ _ _ ii
iii tmi a Checir. if this rs an "
amended filing

 

 

 

Officiai Form 107
Statement of Flnancial Affairs for individuals Fillng for Bankruptc_y ome
Be es complete and accurate as possible. if two married people are filing topether. both are equally responsible for ¢vWMl'IB correct

information if more space ls needed. attach a separate sheet to this form. On the top of any edditioml pams. write your name and case
number (|f known}. Answer every qr.iestionl

dive Detai|s Ahout Your Marital Stsius and Where ‘fou leed lehre

 

t. What is your current marital staws?

iB named
Cl unmarried

2. Durlng the last 3 years, have you lived anywhere othert.han where m live now?

El rid
E| vee. usi ali or md places you lived in the inn a years co nor include wm you live now.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Daees Dehtor 1 heater 2: Datss Debtor 2
lived there lived there
DSameesDeotori user-neasbebtor‘l
From me
Numbef Streei Number Street
To To
Cliy Siale ZlP Code City State ZiP Code
m Sarrie as Deetor 1 n Seme as Deplor 'l
From From
Nu Sbeet
Number Sireei To rnber TD
city sun ziia code city sen zil= code

. W lnthe leeteyears did ever liveth a spouse or legal equivalent lnacornmul'll\¥ propertystete orterriwry?(Cornnmln¢properly
a clause end territories include FArl:ona. Cai|lcmla. ldaiio. Louislana. Nevsda. New Mexioo, Puerlo Rlco. `i'exaa. Washington. and Wisoonsln.)

ti No
Cl yes M.i¢e sure you fill our scheme H.- Your custom roman For-m ioei-i).

iran 2.- !xptaln the Sourcas of ¥our income
Oi'iicial Form 107 Statement pt Finanoisl Mairs for individuals Fiilng for Banllruptcy page 1

 

 

 

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own Erwin Michaei Dougias cammmw¢.......is_¢l?-bk_lon-KRM
F`vIName Whilernl La¢lh\¢

 

 

4. D|d you have any income irorn employment orfroni operating a business during this year orthe two previous calener yeue?
Flil in the total amount of income you received from all jobs and all businessea. including part-lime acdvliies.
ilyouaretllir\qalcini.caae andyou have income thatyou reoeivetogether, listitonly once order Dehiior 1`
Ei No
93 Yes. i=iii in the deiaiis.

   

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Check ali lhel apply. (beicve deduclhnl and Ch\dt all hal lppiy. m didncil°m ind
actuarial Wi
m W ea commissions 000 m W ccmmleaiona.
From Januery 1 of current year until °9 ‘ ' s 51, *9"' s
the date ou filed icr bankruptc : °°""’“°' ups _""__""_ b°""'"' apa °_“‘_"°“_
v y a Operating a businm n Operaling e business
wagee. ccmrnleelone. 56,000 a waqee. cornmiaem
For last calendar year: umwa ups s mmi ups s
(Jenue¢yi re Dedembersi.MZQ]_& i Ci opmunge business n moines business
. m Wages, oommiss`icns. n Wagea. commissione.
For the calendar year before that. m 54'000 lam s
iemiaryiioneoemverm.w_??§_i§..._) iii wingabi.em -~__ Ei opm-immune

5. Did you receive any other income during this year or the tvro previous calendar yeare?
include income regardless of whether thai income is ta)rebie. Examples of otherinoomo are alimony. child support Sodai Seou-ity,
unemployment and other public beneiit paymenle; pensione; rental incorne: inieresl; dividende; money collected from iawsi.\iis: myaliies: and
gambling and lottery winnings. lf you are illing a joint case end you have income that you received together. list ii only once inner Debtor 1.
Liel each source and the gross income imm each source separately Do not include income that you listed in line 4.

Ei No
Ci Yee. Fiii in the derene.

 

 

 

 

 

 

 

 

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Frorri Jenuary 'l of current year until -““‘__""""""""" $_.__..._._-m_ -__--_'-""_ S
the dale you filed ior bankruptcy: s s
For last calendar year: 5 $__...,..._.......___.“
(.ienueiy 1 w Deoemiier 31. ) 5 S”___ ___ _a
YYV\'
For the calendar year before that: $
i.ianuary‘r io December 31. ) $
irva s

 

Ofiic|al Form 107 Stetement of Flnariciai Aflaira for individuals Fl|ing for Bankrupbcy page 2

 

 

 

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named Erwin Michael Dougias sm umw limLB;l?~bk-lo)_U-KRM

 

‘l'll NlrM m Nlrll¢ LM Nlml
must certain Poym¢nte You |hde Before ¥ou Fl|ed for I¢rr|cruptcy

6. Ar\ etther Debtor 1'a or Debw|' 2'e debts primarily consumer debte?
U No. Nelther Debtor 1 nor Debtor 2 has primarily consumer debu. Consumer debts are deiined ln 11 U.S.C.§1D1(8)as
'inourred by an individual primarily for a personal. femily, or household purpose."
Durlng the 90 days before you tl|ed for hankruptcy. did you pay any creditor a total ot 56.425' or more?

l'.] No` Go mine z

@ ¥es. List below each creditor to whom you paid a total of $6.425* or more in one or more payments and the
total amount you pald that creditor. Do not include payments for domestic support obligations. such as
child support and allmany. Alao. do not indude payments to m attorney for this bankruptcy case.

‘ Subject to adjustment on 4101/19 and every 3 years alter that for cases filed on or alter the date of adjustment

m ‘fea. Debior 1 or Debtor 2 or both have primarily consumer debts
During the 90 days before you liled ior bankruptq, did you pay any creditor a total el 5600 or more?

fl No. co w line r_
n Yea. List below each creditor to M\om you paid a total of$600 or more and the total amount you paid that

cradltor. Do not include payments for domestic support obligations. such as d'lild support and
alimony. Nso. do not include payments to an attorney for this bankruptcy case.

 

 

 

 

 

 

 

 

 

 

 

 

 

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Credller’\ Name
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Ottloiel Form 107 Sutement ot Flnanclal At'lalrs for individuals Flllng for Banknmtcy page 3

 

 

 

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Erwin Michae| Doug|as

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wm am “m_ 3:17-bk-10247-KRM

 

 

7. Wlthin1 yearbeforeyouiiiedforbenkmpwy.didyoumliteapeymentonadebtyoucwedanyonewho\veean insider?
insiders include your relativea; any general parmers; relatives of any general partners; partnerships of which you are a general pertner:
corporations of which you are an oliicer. directr)r, person in control. or owner of 20% or more of their voting saulrities; end any managing
agent including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments ior domestic support obligatione.
such as child support and alimonyl
N No

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ch Stlt\ ZiP Code

 

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cry sen eroue¢

a. Wltiiln 1 year before you filed for bankruptr:y, did you make any payments or transfer any property on account ore debt that benefited
an inelder?

include payments on debts guaranteed or oosigned by an insider.

Elr~ro

D Yee. List ali payments that benefited an insider

Da\uof Teta|amrrurn M\or.lrtyouetili Reaooniorttrilpeymem
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mem Name

 

Ml|'ldlr SM

 

 

cry sure zia code

 

 

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C\r sole nom

Omda\ Form 107 Siltemeli\ di FiMflCiai min for if|divid‘\.\&i$ Fiiing br Blnkrupfcy page 4

 

 

 

Case 8:17-bl<-10247-RCT DOC 12 Filed 12/26/17 Page 47 of 56

ErWil‘t NliChEt€l DOL,|gIaS g:lj_bk_10247_KR|\/|

own Csse number trun¢tL
Fl'litanta MBdiaN-ne tallwa

identify l..egai Actiorra, Repolmaiene, and Forecloaur\e

e. Withln 1 year before you illed for bankruptcy were you a party ln any lawsuit court ection, or administrative prooeeding'r
Llst all such matters indudlng personal lnjury ceses. smell claims actions. divoreea. collection suits. paternity actions support or custody nndilicetions,

 

 

 

 

 

 

 

 

and contract disputes
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italian chin case term er aget\cy m et the can
cas true own m E] sending
m On appeal
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Case number
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case title m wm L._.l running
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tturroer street a nominee
Case number
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to. Withln 1 year before you filed for bankruptcy. was any of your property reposeessed, foreclosed, garnished, atteched, eetzed, or levied?
Check all that apply and fill in the details beiow.

lZl No. eetolirtett.
Ci ves. Fm in the tnronnatton beam

 

 

 

 

 

 

 

 

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creatwr‘¢ sum
Nutttber street Explaln what happened
U Propetty was repossessed
El F'roperty wes foreclosed
Ci Properry was qamist-ted.
city stem th code a Property was ettedred. seized. or levied
Deecrlbe the property bare liable of the property
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Craditor'l Name
tamm street mm
\:l Property was repossessed.
C| Property was romeoeed.
ah gm le cwa m Pmperty win gamtshed. d
n Property was attacned. seized, or lovted.

Ol'|icla| Form 107 Statemant of Flnartclal Affalra for individuals Filing for Banltruptcy page 5

 

 

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Erwin l\/iichaei Dougias 8:17»bk-10247-KRM

Debior \i Case number rrrmmi_

 

Fl'ltN.llrll \Hdh|ilme L.-|hme

11. Within 90 daye before you died for bankrupicy. did any oreditor, inoiuding a bank or financial lnatitutlon, set off any amounts from your
accounts or rewea lo make a payment beoeuee you owed a dei~.ii"i

Nc
Cl Yee. Fm in the deraiis.

 

 

 

 

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was taken
creame- Name
M.lmbal Slraai x
Gllv Sule 29 Code Lest 4 digits oi‘ amount number. XXXX-

12. Withln 1 year before you filed for bankruptcy. was any ofyour property in the possession or en assignee for the hene‘|ii of
oredi\ore. a owmppdmd noeiver, a custodian or another oil'ioial'i

EiNo
n¥es

Llat certain Glfta and Contrlhutlona

13.Witi1in 2 years before you filed for bankrupw¥. did you give any gifts w'rlh a total value oi‘more lhan 5600 per peraon?
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Ci ves, Fiu in rha downs for each qm.

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Ofliciai Form 107 Smemen! of Finanoiei Ai‘fairs for individuals Fiiing for Banl¢ruptoy page 6

 

 

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D,m, Erwin lV|ichaei Doug|as am o 3?17'bk‘10247'KRM

, l!bve'll
Flrer Name M¢adeNnm Lael line

14.Wiihin 2 years before you filed for bankn.rptcy. did you give eny gifts or contributions with a total value of more than $600 to any charity'i

E]No

[J Yes. Fm in rha details for each gin or contribution

 

 

 

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that total more then mo cor'orli;\l.lled
Cl\arily‘a Name ___ s
$
Numoer even
CRy Staie ZlP Code

 

m Llat certain Losses

15. Within 1 year before you filed for bankruptcy or since you lited for bankruptoy. did you lose anything because ofthel!. lire. other
disastar. or gambling'r
[Zl No

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demonlheaaoi$ohedileha:proper!y

Llal certain Payments or Transfers

 

16. Wlthin 1 year before you liied for benkruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consumed about seeking bankruptcy or prepaan a bankruptcy pedrlon?
include any attomeys, bankruptcy petition pmparors. or credit counseling agencies for services required in your bankruptcy
m No
D Y¢e. Fiu in me downs

 

 

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Oihol'ei Form 107 Siztemeni of Financie| Aifains far individuals Fliing for Banlrruptcy page 'l'

 

 

 

Debll:lr 1

Case 8:17-bi<-10247-RCT DOC 12 Filed 12/26/17 Page 50 of 56

Erwin Michaei Doug|as 8:17-bk-10247-KRM

Case number rummel
Fnr name ahs-Name Laat rome

 

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lr.Wlthin 1 yearbelore you filed forbenkruptcy. did you orenyoneetee acting on yourbehalfpeyortransferanypropertytoanyoneiho
promised to help you deal with your creditors or to make payments to your creditors?
Do not induce any payment or transfer that you listed on line 16_

El Nn
ill Yes. Fill in the details

 

 

 

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Clty Sllte ZIPC¢da

 

la. Wlthin 2 years before you filed for benkruptcy. did you sell, dade. or otherwise tranaler any property to anyone. other than property
transferred in the ordinary course of your business or financial afralra?
include both outright transfers and transfers made as security ¢sud'\ as the granting of a eecunw interest or mortgage on your property).
Do not include pills and transfers that you have already listed on ll'lle statement
EE No
Ei yes nn in we details

 

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transferred ordelupeldhemhlnse wasmada
PereanhoReceivedTrans|er
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Parson`s relationship to you

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city stale zlP com
Pereon‘r relationship to you

Otllclat Form 107 Statelnent of Flnenclai Ali*alre lor individuals Flllng lor Banlrruptcy page 8

 

 

 

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Erwin Nlichael Douglas 3;17-bk_10247-i<RM
Debtor 1 Casa numberi»r mmi
Fll|eeme Mle Name Lur Name

10.Withln 10 years before you filed for bankruptoy. did you transfer any property to a self-settled truat or similar device of which you
are a beneiiciary? (Thasa are often called asset-protection devices.)

Eil No ff
E.`l ves. Fiil in the donna H

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weemade

Name of trust

 

 

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§ zo. Wit.hln 1 year before you filed for bankruptcy, were any iinanoial accounts or instruments held in your name. or for your beneiit.
§ cloaed. soid, movad. or transferred?

f include checking, savian money market. or other financial accounts certificaus 01 deposit shares in banks, credit unione,

, brokerage housea. pension funds, cooperatives, asaociatlons, and other financial institutions

mNo

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blame etHnumlai institution

 

 

 

Clq m ZlP code

;21. Do you now have, or did you havewithin1yearbefore you filed for bankniptcy, any safe deposth orother depositoryfor
` securii.iea, cash. or other veluahlea?

No

El vu. Flii in the details

 

 

 

 

 

 

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Ochie| Form 107 Statament of Flnan¢ial At'l‘elrs for individuals Fillng for Bankrupecy page 0

 

 

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Erwin Michae| Doug|as 3;17_bi<_10247_ng
Debtor1 Case number nmi
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_i 23. Do you hoid or control any property that someone else owns? include any promrty you borrowed from. are storing for,
or hold in trust for someone.

n No
1 Ei Yu. Fiii in me demii¢.

 

 

 

 

 

 

' where in nn pmp¢rm paula ue property value
§ Owner‘e Name $
' Nutl\bsr Sd'eet
= timber Sc\eei
._._......-__.____ C Code
i ¢ltr sun la code w w v

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Fortha purpose of Part 10. the following definitions apply:

a Environmerml‘ law means any iederal, etate. or local statute or regulation concerning polludon, oonwnlnation. releases of
hazardous or toxic substances. wastas. or material into the eir. lend, soil, surface water. groundwetar, or other madiun\,
including statutes or regulations controlling the cleanup of these wbshncas, WISNS. dr mM|.

a Slte means any location, faciilty. or property aa deiined under any environmental iaw. whether you now dwn, operate. or
udiize it or used to own, operate, or utilize it. including disposal sihs.

l Hazardoua material means anything an environmental law detinaa as a hazardous waste, hazardous aubetence, toxic
substanoe. hazardous material. poliutant, contamian or similar term.

Rapori all notioea. releaeee, and proceedings that you know about. regardless of when they occurred

24.l-iaa any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

alito

Cl Y»e. Fiii in the eeuiie.

 

 

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Ol‘liciai Form 107 Staternant of Flnanciai Ai‘iairs ior individuals Filing for Banltmptcy page 10

 

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mwa Erwin Mlchae| Doug|as am numwcfwl 8:17'bk'10247'KRM

Fi'lhlama Mlddlalteme LaaiNeme

 

 

25. Have you notified any qovemmantai unit of any release of hazardous matarial?

Ei No
ill vec. rul in mc details

 

 

 

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NH" d \Wl Govemrnentai unit
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city ante zP code

 

city Shte HP code

26.Have you been e party |n any judicial or administrative proceeding under any environmental law? include settlements and ordere.

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L'.] vu. Flll in the nunc

 

 

 

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Z?.Within 4 years before you mad iorbanlrruptcy, did you own a business or have any of the following connections to any business'i‘
la A sole proprietor or sell-employed in a trade. profession. or other activity. either full-time or part-time
m A member of a limited liability company (LLC) or limited liability partnership (LLP)
a A pltner |rl a partnership
A.n oil‘icar, director, or managing executive of a corporation

Anowner otetleast 5%otthevotingorequity securltleaotacorporetlon

a No. None of the above appllaa. Go to l'-'alt12.
m ¥as. Check all that apply above end iili in the details below for each business

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Oiiicia| Form 107 Statement of Flnanclal Afi'airs for individuals Fillng for Bankruptcy page 11

 

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Erwin Michae| Doug|as 3:17-bk-10247-KR|V|
Debtor 1 sum Mm mw Case number rrml_
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‘ city sua mem

L,_____ _____________ ___ _____ _____________ ___ _____ _ _____________ ____ _______________________________ _____ __

5 _
i 2l. Wlti'lin 2 years before you filed for bankruptcy. did you give a financial statement to anyone about your business? include all financial
l lnetitutlons, creditors. or other partiea.

. n No
l D ch. Fill ln the downs belcw.

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city sun zlr cadc

 

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1 |hlve reed the answers on this Stetement ofFr'nancLai Al'i'airs and any attachments endi declare under penalty of pedurythat the

l answers are due and correct. l understand that making a false statement concealing property, or obtaining money or property by trend
§ in connection with a bankruptcy case can result in fines up to $250. 000. or imprisonment for up to 20 years, or both.

' 18 \.i.S.C. §§152, 1341, 1510, end 3571.

xZ/o\-im&i&wl£t §§

 

Signature o bebtori Slgnature of motor 2
g one i ;\ 7~ 0 l vi mm
z Dld you attach additional pages to Your Stetement ofFinanciai Ai'l'airs for individuals Fiiing for Bankruptcy (Otfloial Form 101|?
Ei Nc
L_..i Yes

Did you pay or agree to pay someone who is not an attorney to help you iiii out bankruptcy tonna'i'
Nc

n Yes. Name of person . Attach the Benim.iplcy Pelition Prepeter‘.s Notr`oe.
Deciaralion. and Signalure (Oi'lidal Form 119).

Oliicia| Form 107 Statement of Flnanciai Atlairs for individuals Fiiing for Banlrruptcy page 12

 

 

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. . i.__'- ‘. il";‘.l"\-i‘$ l':»\
BW1 Erwin Michae| Dougla$ m "`
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u"'i°“ 5"'“” B“"“N°°°V C°“" '°' W= _Middle D'F‘"°* °' _F_L_._ Meene F:er Celeorerron lender Fr$r?naqt;er-zi.

ceee number 8:17'bk”10247'KRM C| 3. The Means Test does not apply now became er
ill mi claimed unitary service out it could apptyiaier.

 

 

 

Ci Check if this is an amended filing

Ofliciai Form 122A-1

Chapter 7 Staternent of Your C-urrent Monthly income 1215

le aa complete and accurate as poeaibla. it two married people era tillnp together, both are equally responsible for being accurate li‘ more

epece le needed. attach a separate sheet to thle form. include the line nor/ibarra which the additional information eppiiee. On the top deny

additional pegee, write your name and cale number tit known»). ii you bei‘.eve that you ara exempted from a presumption ot abuse because you

do not have primarily consumer dobie or beceuae of qualifying military service. complete end file moment or£aernprloa nom Presumptiorr of ll
Abuse Under§ 707(b)(2) (Ofllcial Form 122A-18uppl with thin torrn.

Gaicuiete Your current identth income

 

l 1. What le your marital and filing etatua'i Chedr one cnly_

1 Cl riot rnerrl¢d. Flii eul column A_ lines 2-11.

l Cl Married and your spouse is filing with you. Fil| out both Columns A and B. lines 2-11.
1

m Married and your spouse le NOT filing with you. You and your spouse are:
51 Liuing in the same heueerroi¢i end m net legally nperei¢d. Fin eat seth columns A end e. lines 2-11.

l El Livlnp separater or are legally separated Fl|| out Colurnrl A. lines 2~11; do not till out Coiurm B. By choctan this box, you declare
§ under penalty of perjury that you and your spouse era legally separated under nonbankruptcy law that applies or that you end your
§ spouse are living apart for reasons that do not include evading the Means Teet requirements 11 U.S.C. § m?(bXFNB).

1 Flilintlteeveragemmdilyimomeumywnodwdhomdleowoe&ddwddmh$hmmnhebemyw&hdrh _
l bankruptcycaee.t‘iU.S.C.5101(10A).Foraxamp|e."youamhkqm$ephmberi§.hwmnthperbdwouidbahhrdnthrough i
§ Aupuat$t.lftheemountolyourmonihlylncorneverieddurirlgtheomortthe.eddthelncomebrel$monihaerlddividaihehtalbyii. i
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f Column A Column B

' Deiltor 1 Debtor 2 or

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i 2. ¥our gross wapee, ealery, tips. honuaee, r:mrtir~ne1 end commissions s 4,659.00 s 300 00

i loelora all payroll deducticnei. _.._,_,_.._ _-_

3 3. Alimcny end maintenance paymente. Do notinclude payments from a spouse if 0 s 0

i column a le ruled ln. 3

‘ 4. Ail amounts from any source which are regularly paid for household expenses
ot you or your dependenta. including child support. include regular contributions

from an unmarried partner. members of your household your dependen‘ia. parente. 0
and roommatee. include regular contributions from e spouse only ii Celumn B le not s s 0
filled ln. Do not include payments you listed on line 3.
2 5. Net income from operating a busineea. profession. mm 1 am 2
i or term
j Grcaa receipts (beiore all deductions) SO_ $g_
. ordinary and necessary operating expenses _ s 0 _ 3 0
Net monthly income from a business prolession, or term s 0 5 0 E.°:",) 5 0 s
` 6_ Net Inco¢ne irom rental and other real property Debtor 1 Debtcr 2
l Gross receipts (beiore all deductions) $_O_ 5_0_
f Orriinary and necessary operating expenses - s 0 .. $ 0 0
§ Net monthly lncome from rental or other real property $ 0 5 0 339 5 s 0
_ 7. interee'i. dlvldonds. and royalties ;____Q______ $_g_
,____ __ ________ _ _ _ _____ __ __ _ ____ _____________ _ __ _____ _______ __ _
Ol'|'icial Form 122A-1 Chapter 1 Staternent of Your Cur'rent Monthly income page 1

 

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comer 1 Erwin Michael Doug|as gm numb,,¢,w, 8117-bk-10247-KRN|
Flettieme llrkllerime uaiNarrle
l Colurm A Oolumn B
Debtor 1 Debtor 2 or
non-filing spouse
B. Unemployment compensation ' ~ s 0 $ 0

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_‘ Do not enter the amount if you contend that tl'ie amount received was a benefit
§ under ti'ie Social Securlty Acl. lnslead. list lt here: ..

 

Foryourspouee §
9. Penalon or retirement lncome. Do not include any amount received that was a 9
benefit under the Social Seo.irity Act, $ S 0

10. income from all other sources not listed above. Specify the source and amount
Do not include any benellte received under the Social Securlty Act or payments received
aa a victim of a war crime, a crime against humanlty. or international or domestic
terrorism if necessary, list other sources on a separate page and put tha total below.

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§ Totel amounts from separate pages. ifany. + 5 + 5

l 11. Celculate yourth current monthly incomo. Add iines2through 10 for each tr f :+ 7 7 __-_ - ;__

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m determine Whether the leases '|'est Applles to ¥ou

l 12.Calcuiate your current monthly income for the year. Follow these steps: f 7 v _'
l 12a. Copy your total current monthly income from line 11 . .................................... Copy line 11 here9 1 $ §.7§9.00

` Muilipiy by 12 {B'le number of months in a year). at 7 12 7
12,,_ ' " 5"57';'103."'00'

 

12e. The result is your annual income for this part of the iomi.

§ 13. Calculata the median family income that applies to you. Follow those steps:

Fill in me stare in which you live Florida
, Fill in the number cf people in your household 4
Fiil in the median family income for your state and size cl household ............................................................................................. 13. l §2,259.00

 

To lind a list of applicable median income erricunts, go online using the link spediied in the separate
instructions for this ionrl. This list may also be available at ii.e bankruptcy clerk‘s oflice.

14. How do the lines oompara?

l tee. m Line12b islese than orequalto line 13. Onthetopofpage l.checltbox 1. Thereisnopreeun'lplkmofebusa.
f Gcrol=erra.

l iio. Cl L|ne 12b Ismorotimn line 13. Onthetopofpege 1. dieciiboxz, irrepresumpilonoi'abusersdeierminedbyi’orm 122A-2.
'j 60 to Part 3 and h|i out Form 122A-2.

Sign lelow
By sigan here. l declare under nalty el perjury that the information on this statement and in any enactments is true end correct

X X

 

 

 

Signature of Detitor 2

Date
MM.r DD i'YYYY

 

|f you checked line 14a. do NOT ill out or tile Form 122A-2.
ll you checked line 14b, nil out Form 122A-2 end tile it with this lon'n.

Qfl'lcla| Form 122A-1 Chepter 1 Statement et Your Currerrt identth income pace 2

